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   Jody C. Barillare
   Of Counsel
   +1.302.574.7294
   jody.barillare@morganlewis.com



  October 25, 2021

  VIA CM/ECF

  Hon. Leonard P. Stark
  United States District Court, District of Delaware
  J. Caleb Boggs Federal Building
  844 N. King Street, Unit 26, Room 6124
  Wilmington, DE 19801-3555

  Re:      OI European Group B.V. v. Bolivarian Republic of Venezuela,
           Case No. 19-mc-290-LPS

  Dear Judge Stark:

  I write on behalf of Plaintiff OI European Group B.V. (“OIEG”) to request a status conference
  in the above-captioned proceeding for November 8, 2021, at 9:30 a.m.

  OIEG understands that the Court will at that time be hearing argument in the Crystallex
  attachment proceeding regarding the Proposed Order (A) Establishing Sale and Bidding
  Procedures, (B) Approving Special Master’s Report and Recommendation Regarding
  Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment Banker
  by Special Master and (D) Regarding Related Matters (the “Proposed Order”), Case No. 17-
  151-LPS (D. Del. Sep. 15, 2021) [D.I. 348]. See Memorandum Order, Case No. 17-151-LPS
  (D. Del. Sep. 8, 2021) [D.I. 337]. The Proposed Order contemplates “Additional Judgments”
  in the process, id. at ¶¶ 27-29; OIEG is one of the judgment creditors contemplated by that
  provision. Special Master’s Report and Recommendation Regarding Proposed Sale
  Procedures Order, Case No. 17-151-LPS (D. Del. Sep. 15, 2021) [D.I. 348] ¶ 60. OIEG
  would appreciate the opportunity to address how the Proposed Order (or modifications that
  may be discussed by the Crystallex parties and the Special Master) may affect its rights and
  those of other creditors.




                                                 Morgan, Lewis & Bockius   LLP

                                                 1201 N. Market Street
                                                 Suite 2201
                                                 Wilmington, DE 19801            +1.302.574.3000
                                                 United States                   +1.302.574.3001
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  The Court has in the past scheduled related Venezuela matters at the same time in order to
  hear the perspective of affected parties. A status conference in Case No. 19-mc-0290 would
  be a useful mechanism to accomplish that here.

  Respectfully,

  /s/ Jody C. Barillare
  Jody C. Barillare
  DE Bar No. 5107


  cc:      All counsel of record (by CM/ECF)




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